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UNITED STATES DISTRICT COURT f _ ptj}dl/'
WESTERN DISTRICT OF TENNESSEE ` _ __ f
Western Division 1 .` ._-_ 2-

UNITED sTATEs oF AMERICA ii§,* fm angStj-[

we ct rr\i, maintains

-vs- Case No. 2:05cr20091-B

SIDNEY THURl\/IAN

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
ln accordance With the Bail Reform A.ct, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in l 8 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECTIONS REGARD|NG DETENTION

SIDNEY THURMAN is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. SIDNEY THURMAN shall be afforded a reasonable opportunity for private
consultation With defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Da:e; May23,2005 {/<UMMLQ /{~ %/'WY

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 9 in
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PDA

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Honorable J. Breen
US DISTRICT COURT

